 Case 1:23-cv-11195-SHS-OTW       Document 373   Filed 12/23/24    Page 1 of 25



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THE NEW YORK TIMES COMPANY,               Civil Action No. 1:23-cv-11195-SHS

                     Plaintiff,           Hon. Sidney H. Stein

     v.                                   MEMORANDUM OF LAW IN SUPPORT
                                          OPENAI’S OBJECTION TO
                                          NONDISPOSITIVE ORDER PURSUANT
MICROSOFT CORPORATION, OPENAI,            TO FEDERAL RULE OF CIVIL
INC., OPENAI LP, OPENAI GP, LLC,          PROCEDURE 72(a)
OPENAI, LLC, OPENAI OPCO LLC,
OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, OPENAI
HOLDINGS, LLC,

                      Defendants.
      Case 1:23-cv-11195-SHS-OTW                           Document 373                 Filed 12/23/24                Page 2 of 25



                                                 TABLE OF CONTENTS

                                                                                                                                        Page

I.       INTRODUCTION ...............................................................................................................1

II.      FACTUAL ALLEGATIONS ..............................................................................................2

III.     THE TIMES’S ALLEGATIONS RAISE CORE FAIR USE ISSUES. ..............................3

IV.      PROCEDURAL HISTORY.................................................................................................5

         A.        OpenAI seeks highly relevant discovery regarding the New York Times’s
                   alleged market harm. ................................................................................................5

         B.        The Times refused to provide fulsome discovery regarding its alleged
                   market harm. ............................................................................................................6

         C.        The Magistrate Judge rejected OpenAI’s request for market-harm
                   discovery without oral argument and without permitting a formal motion
                   to compel..................................................................................................................7

         D.        The Magistrate Judge relied on a separate discovery order considering
                   unrelated issues in denying OpenAI’s market-harm requests..................................9

V.       STANDARD OF REVIEW ...............................................................................................10

VI.      ARGUMENT .....................................................................................................................10

         A.        The Revenue and Traffic Requests seek documents critical to OpenAI’s
                   fair use defense. .....................................................................................................11

         B.        The Licensing Requests seek documents critical to OpenAI’s fair use
                   defense. ..................................................................................................................15

                   1.         Preexisting Licensing Revenue ..................................................................15

                   2.         “Potential” Licensing Revenue for LLM Training ....................................16

VII.     CONCLUSION ..................................................................................................................18




                                                                     i
    Case 1:23-cv-11195-SHS-OTW                            Document 373               Filed 12/23/24              Page 3 of 25




                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Federal Cases

Am. Geophysical Union v. Texaco, Inc.,
   60 F.3d 913 (2d Cir. 1994).........................................................................................5, 7, 11, 17

Authors Guild, Inc. v. Hathitrust,
   755 F.3d 87 (2d Cir. 2014).........................................................................................................3

Authors Guild v. Google, Inc.,
   804 F.3d 202 (2d Cir. 2015).......................................................................................................4

Baker v. Urb. Outfitters, Inc.,
   254 F. Supp. 2d 346 (S.D.N.Y. 2003)......................................................................................14

Bill Graham Archives v. Dorling Kindersley, Ltd.
    448 F.3d 605 (2d Cir. 2006).................................................................................................7, 16

Campbell v. Acuff-Rose Music, Inc.,
  510 U.S. 569 (1994) ...............................................................................................................3, 5

Castle Rock Ent. v. Carol Publ’g. Grp. Inc.,
   150 F.3d 132 (2d Cir. 1998).....................................................................................................17

Condit v. Dunne,
   225 F.R.D. 100 (S.D.N.Y. 2004) .............................................................................................10

Coventry Cap. U.S. LLC v. EEA Life Settlements, Inc.,
   333 F.R.D. 60 (S.D.N.Y. 2019) ...............................................................................................10

Fitzgerald Publ’g Co. v. Baylor Publ’g Co.,
    807 F.2d 1110 (2d Cir. 1986)...................................................................................................14

Google LLC v. Oracle America, Inc.,
   593 U.S. 1 (2021) ............................................................................................................. passim

Hachette Book Grp., Inc. v. Internet Archive,
   115 F.4th 163 (2d Cir. 2024) .............................................................................................10, 13

Hachette Book Grp., Inc. v. Internet Archive,
   Case No. 1:20-CV-04160-JGK (S.D.N.Y. 2021) ECF 60 .......................................................13

Harper & Row Publishers, Inc. v. Nation Enter.,
   471 U.S. 539 (1985) ...........................................................................................................11, 13




                                                                   ii
    Case 1:23-cv-11195-SHS-OTW                               Document 373                 Filed 12/23/24              Page 4 of 25




On Davis v. The Gap, Inc.,
   246 F.3d 152 (2d Cir. 2001).....................................................................................................14

R.F.M.A.S., Inc. v. So,
   748 F. Supp. 2d 244 (S.D.N.Y. 2010)......................................................................................10

SEC v. Citigroup Global Markets, Inc.,
   752 F.3d 285 (2d Cir. 2014).....................................................................................................15

Sony Corp. of Am. v. Universal City Studios, Inc.,
   464 U.S. 417 (1984) ...................................................................................................................3

Stevens Linen Assocs., Inc. v. Mastercraft Corp.,
    656 F.2d 11 (2d Cir. 1981).......................................................................................................14

Zhulinska v. Niyazov Law Grp., P.C.,
   Case No. 21-CV-1348 (CBA), 2021 WL 5281115 (E.D.N.Y Nov. 12, 2021) ........................12

Federal Statutes

17 U.S.C. § 107 ............................................................................................................................3, 4

Rules

Fed. R. Civ. P. 26(b)(1)..................................................................................................................10

Fed. R. Civ. P. 72(a) ......................................................................................................1, 10, 11, 14

Local Civil Rule 37.2 .......................................................................................................................8

Other Authorities

4 Melville B. Nimmer & David Nimmer, Nimmer on Copyright (2024) ........................................5

Pierre N. Leval, Toward a Fair Use Standard, 103 Harv. L. Rev. 1105 (1990) .........................3, 5




                                                                      iii
     Case 1:23-cv-11195-SHS-OTW           Document 373         Filed 12/23/24      Page 5 of 25




I.      INTRODUCTION

        Pursuant to Federal Rule of Civil Procedure 72(a), OpenAI 1 seeks to “modify or set

aside” two discovery orders denying critical discovery related to OpenAI’s fair use defense. The

fourth factor of the fair use test considers the effect of OpenAI’s allegedly infringing use on the

market value of the Times’s asserted works. The Times has made sweeping allegations of market

harm, claiming that OpenAI has harmed its subscription, licensing, advertising and affiliate

revenue, indeed, its very “ability” to provide the service of “[i]ndependent journalism” itself. See

ECF 170 (“FAC”) ¶¶ 1–2, 5. Consequently, OpenAI sought documents and communications

related to: (1) alleged decreases in the Times’s revenue, including the reasons for such decreases;

(2) alleged decreases in subscriptions and in traffic to the Times’s website and mobile

application, including the reasons for such decreases; and (3) the Times’s licensing efforts,

including whether a cognizable licensing market for training large-language models (“LLMs”)

exists. The discovery orders erroneously conclude that such evidence is irrelevant.

        Indeed, the Times itself has almost entirely conceded the relevance of the discovery in

question. Notwithstanding this concession, the Times has either refused to produce altogether or

has improperly narrowed the scope of its production in response to the requests at issue, severely

hampering OpenAI’s ability to test the Times’s claims of market harm. The orders denying this

discovery (the “December Orders”) 2 fail to address controlling law and rely instead on a prior

order that addressed entirely different issues—namely, the Times’s own use and development of




1
 “OpenAI” refers collectively to Defendants OpenAI, Inc.; OpenAI LP; OpenAI GP, LLC;
OpenAI, LLC; OpenAI OpCo, LLC; OpenAI Global LLC; OpenAI Corporation LLC; and
OpenAI Holdings, LLC.
2
  See ECF 353 (denying OpenAI’s October 22 request for a prehearing conference); ECF 352
(denying November 17 request for a prehearing conference).


                                                 1
      Case 1:23-cv-11195-SHS-OTW            Document 373        Filed 12/23/24      Page 6 of 25




generative AI products. See ECF 344. Because the December Orders are clearly erroneous and

contrary to law, they must be set aside.

         The fair use questions at issue in this Objection have significant implications for this

case. The December Orders threaten to prejudice the ultimate resolution of this matter by

depriving this Court of a complete evidentiary record for summary judgment, trial, and

(potentially) appeal. The discovery OpenAI sought is directly relevant under controlling fair-use

precedent and falls well within the broad scope of discovery contemplated by Rule 26. OpenAI

respectfully requests that the Court intervene and order the production of the market-related

discovery to which OpenAI is entitled.

II.      FACTUAL ALLEGATIONS

         As OpenAI recently explained, ECF 363 at 2, the core allegation in this case is that

OpenAI used a “copy of the Internet” to train the LLMs that underlie its ChatGPT service—and

that, in so doing, OpenAI created unauthorized copies of “millions of” Times articles published

on the Internet. FAC ¶¶ 2, 88. The Times’s central legal theory is that the creation of these copies

constituted copyright infringement, rather than fair use.

         The Times contends that OpenAI’s alleged use of Times content caused “substantial

harm” to the Times in several ways. FAC ¶¶ 5, 154. First, the Times alleges that it has sustained

harm to a “well-established market” for licensing its content for commercial purposes, which

allegedly generates “millions of dollars” in revenue for the Times each year. Id. ¶ 156. Second,

the Times alleges that OpenAI products threaten to “divert readers . . . away from” the Times’s

website because individuals can access Times content directly through OpenAI’s products,

reducing traffic to the Times website and corresponding advertising and subscription revenues.

Id. ¶ 157. Finally, the Times alleges that OpenAI products threaten affiliate referral revenues




                                                   2
   Case 1:23-cv-11195-SHS-OTW               Document 373            Filed 12/23/24   Page 7 of 25




earned by Times sites like Wirecutter by reducing user visits and thus user clicks on paid-by-

click affiliate links in Wirecutter articles. Id. ¶¶ 128–29, 157.

III.   THE TIMES’S ALLEGATIONS RAISE CORE FAIR USE ISSUES

       OpenAI intends to present a fair-use defense in this case. “From the infancy of copyright

protection, some opportunity for fair use of copyrighted materials has been thought necessary to

fulfill copyright’s very purpose, ‘[t]o promote the Progress of Science and useful Arts . . . .”

Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 575 (1994). “[C]opyright is ‘not an inevitable,

divine, or natural right that confers on authors the absolute ownership of their creations.’”

Authors Guild, Inc. v. Hathitrust, 755 F.3d 87, 94 (2d Cir. 2014) (quoting Pierre N. Leval,

Toward a Fair Use Standard, 103 Harv. L. Rev. 1105, 1107 (1990)); see also Sony Corp. of Am.

v. Universal City Studios, Inc., 464 U.S. 417, 429–33 (1984) (copyright “has never accorded the

copyright owner complete control”). On the contrary, it reflects a pragmatic bargain designed “to

stimulate activity and progress in the arts for the intellectual enrichment of the public.”

HathiTrust, 755 F.3d at 94–95 (internal quotation marks omitted); see also Sony, 464 U.S. at 429

(“reward to the [copyright] owner” is “secondary” to the “general benefits derived by the public”

(citation omitted)). While copyright holders are granted a “limited monopoly over (and thus the

opportunity to profit from) the dissemination of their original works,” Hathitrust, 755 F.3d at 95,

that monopoly does not come with the right to prevent or demand payment in exchange for fair

uses of a work, see Sony, 464 U.S. at 432–33; 17 U.S.C. § 107 (fair uses are “not []

infringement[s] of copyright”). In this way, “[t]he fair use doctrine [] permits and requires courts

to avoid rigid application of the copyright statute when, on occasion, it would stifle the very

creativity which that law is designed to foster.” Campbell, 510 U.S. at 577 (cleaned up).

       Section 107 of the Copyright Act details four non-exclusive factors to be considered in

assessing whether a particular use is “fair”: (1) the purpose and character of the use, including


                                                   3
   Case 1:23-cv-11195-SHS-OTW              Document 373         Filed 12/23/24      Page 8 of 25




whether such use is of a commercial nature or is for nonprofit educational purposes; (2) the

nature of the copyrighted work; (3) the amount and substantiality of the portion used in relation

to the copyrighted work as a whole; and (4) the effect of the use upon the potential market for or

value of the copyrighted work. 17 U.S.C. § 107.

       With regard to the fourth factor—the effect on the market for the copyrighted work—the

analysis must be sensitive not just to whether such an effect exists, but also to its specific nature,

its precise magnitude, and whether it relates to “interests that are not protected by the copyright.”

Authors Guild v. Google, Inc. (“Google Books”), 804 F.3d 202, 224 (2d Cir. 2015). Of relevance

here, the court “must consider not just the amount but also the source of the [alleged] loss.”

Google LLC v. Oracle Am., Inc. (“Oracle”), 593 U.S. 1, 35 (2021). In Oracle, for example, the

Supreme Court considered a dispute in which Google was accused of infringing computer code

owned by Oracle in its development of the Android smartphone platform. Id. at 14–16. In

assessing whether the fourth factor supported a finding of fair use, the Court canvassed the

evidence in the record relevant to whether Oracle’s alleged losses were attributable to Google’s

use of Oracle’s code in the Android platform, ultimately concluding that “the jury could have

found that Android did not harm the actual or potential markets for” Oracle’s code. Id. at 36. The

Court explained that Oracle’s alleged harm—the loss of revenue it might have gleaned from the

smartphone market—could not be traced to the copying at issue. It observed that the record

indicated that Oracle and its predecessor Sun Microsystems were “poorly positioned to succeed

in the mobile phone market,” and that “Sun was beset by business challenges in developing a

mobile phone product.” Id. The Court further noted that Sun’s CEO had testified that Sun’s

failure to build a competing product was not “attributable to Google’s development of Android.”

Id. at 36. The alleged harm was thus caused by factors other than the alleged infringement. The




                                                  4
    Case 1:23-cv-11195-SHS-OTW             Document 373         Filed 12/23/24      Page 9 of 25




Court therefore held that the fourth factor “weighs in favor of fair use.” Id. at 40.

        The same principles apply when a copyright holder argues that he should have been paid

a licensing fee in exchange for a challenged use. While a copyright holder may permit otherwise

infringing activity in exchange for a royalty, “not every effect on potential licensing revenues

enters the analysis under the fourth factor.” Am. Geophysical Union v. Texaco, Inc., 60 F.3d 913,

929 (2d Cir. 1994). Indeed, “were a court automatically to conclude in every case that potential

licensing revenues were impermissibly impaired simply because the secondary user did not pay a

fee for the right to engage in the use, the fourth fair use factor would always favor the copyright

holder.” Id. at 930 n.17. 3 On the contrary, “courts have recognized limits on the concept of

‘potential licensing revenues’ by considering only traditional, reasonable, or likely to be

developed markets when examining and assessing a secondary use’s ‘effect upon the potential

market for or value of the copyrighted work.’” Id. (quoting Campbell, 510 U.S. at 577). The

absence of such a “ready market or means to pay for the use” weighs heavily in favor of fair use.

Id. at 931.

IV.     PROCEDURAL HISTORY

        A.     OpenAI seeks highly relevant discovery regarding the New York Times’s
               alleged market harm.

        On March 8 and October 21, 2024, OpenAI propounded document requests seeking

evidence relevant to market harm and factor four of the fair use inquiry. Of relevance to this

Objection, the requests fall roughly into three categories:




3
 See also Leval at 1124 (“By definition every fair use involves some loss of royalty revenue
because the secondary user has not paid royalties.”); 4 Melville B. Nimmer & David Nimmer,
Nimmer on Copyright § 13F.08[B] (2024) (“[I]t is always a given that plaintiff suffers a loss of
some potential market if that potential is defined as the theoretical market for licensing the very
use at bar.”).


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    Case 1:23-cv-11195-SHS-OTW            Document 373        Filed 12/23/24      Page 10 of 25




       (1) documents and communications related to decreases in the Times’ revenue, including

       the reasons for such decreases (RFPs 141, 146–48) (“Revenue Requests”);

       (2) documents and communications related to decreases in subscriptions and in traffic to

       the Times’ platforms, including the reasons for such decreases (RFPs 35, 37, 142–45)

       (“Traffic Requests”); and

       (3) documents and communications related to the Times’ licensing efforts, including

       regarding the existence (or non-existence) of a market for LLM training (RFPs 18, 33,

       160–61) (“Licensing Requests”).

       B.      The Times refused to provide fulsome discovery regarding its alleged market
               harm.

       The Times refused to comply with the full scope of OpenAI’s requests. Instead, the

Times has only agreed to produce documents that support its own position on the fourth fair use

factor, while refusing to provide critical evidence relevant to OpenAI’s fair use defense. More

specifically, in response to the Revenue Requests, the Times agreed only to produce documents

sufficient to show revenue generated by the Times’s offerings. It has refused to produce

documents or communications related to the causes of the alleged decreases in revenue,

including analyses and custodial communications attributing these alleged declines in revenue to

causes other than OpenAI. 4 But see Oracle, 593 U.S. at 35 (directing courts to consider “not just

the amount but also the source of the loss” in analyzing the fourth fair use factor).

       In response to the Traffic Requests, the Times made a limited commitment to produce (1)

documents sufficient to show trends in readership for the Asserted Works and online




4
  See ECF 310-1 at 34–36 (NYT Resp. & Obj. to RFPs 146–48) (refusing to produce documents
referring to decreases in revenue or “factors that allegedly negatively impacted revenue”).


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    Case 1:23-cv-11195-SHS-OTW           Document 373         Filed 12/23/24     Page 11 of 25




subscriptions from 2018 through the present; (2) documents sufficient to show trends in traffic

generated in connection with content published on the Times’s website from 2018 to the present;

and (3) analyses explicitly attributing alleged decreases to OpenAI. But it refuses to produce any

communications related to any other causes of the alleged declines 5—exactly the information

OpenAI needs in order to demonstrate that any alleged losses are attributable to other causes, not

to OpenAI. See id.

       In response to the Licensing Requests, the Times cabined its production commitment to

copies of licenses for the Asserted Works and custodial communications limited to specific

attempts to license the Times’s works for LLM training. The Times refuses to produce any

communications regarding licensing of the asserted works in its established licensing market,

i.e., for purposes other than LLM training. And it refuses despite having specifically alleged the

relevance of its established licensing market in its complaint, see FAC ¶¶ 50–51, and despite the

Second Circuit’s guidance that analyzing the “market for licensing” is essential in the fair use

analysis, Bill Graham Archives v. Dorling Kindersley, 448 F.3d 605, 614 (2d Cir. 2006). The

Times further refuses to produce any communications regarding the existence (or lack thereof) of

a functioning market for LLM-training licenses. Such discovery is necessary to assess whether

there is a “ready market or means to pay for” the challenged use. Texaco, 60 F.3d at 930–31; see

also Oracle, 593 U.S. at 31–32 (relying on statements of plaintiff’s “executives” in analyzing

fair use generally).

       C.      The Magistrate Judge rejected OpenAI’s request for market-harm discovery




5
  See, e.g., ECF 310-2 at 27–28 (NYT Resp. & Obj. to RFP 35) (refusing to produce documents
relating to the “causes” of “trends in readership or online subscriptions”).


                                                 7
    Case 1:23-cv-11195-SHS-OTW            Document 373        Filed 12/23/24     Page 12 of 25




                 without oral argument and without permitting a formal motion to compel.

         Because the requested materials are critical to OpenAI’s fair use defense, OpenAI filed

two requests for pre-motion conferences before Magistrate Judge Ona T. Wang to address the

Times’s refusal to comply with these requests. 6 The first request was filed on October 22, 2024,

and, as relevant here, sought production as to two Traffic Requests (RFPs 35 and 37). See ECF

276. At a status conference on October 30, 2024, OpenAI attempted to argue this initial request,

but Judge Wang stated that it would be considered at the next status conference. 7 Prior to that

next conference, OpenAI filed its second request for a pre-motion conference and sought to

compel production in response to the Revenue Requests, the Licensing Requests, and the

remaining Traffic Requests. See ECF 310.

         Both requests for pre-motion conferences were slated to be heard at a status conference

on December 3, 2024. See ECF 350 at 4–5 (joint chart of discovery disputes for discussion at

December 3 conference). On December 2, Judge Wang denied both requests via docket entries

based entirely on the parties’ three-page pre-motion letters—without conducting a pre-motion

conference or allowing OpenAI to file a formal motion to compel. See ECF 353 (denying

October 22 request); 8 ECF 352 (denying November 17 request).




6
    See Local Civil Rule 37.2; Judge Wang Individual Practices in Civil Cases § II.B.
7
  See 10/30 Hearing Tr. at 83:9–15 (instructing counsel to “[p]ut that in your chart that’s coming
in, in a week anyway” and that the Court would “take a look at that also” before the next
conference).
8
  The Order at ECF 353 also rejected OpenAI’s request as to other RFPs related to the benefits of
OpenAI’s services to journalism and the impact of generative AI products on the Times and
journalism. See ECF 276 at 2–3 (RFPs 70, 76, & 82). The Order as to those requests erred for the
same reasons articulated in OpenAI’s separate, previously filed objection. See ECF 362 & 363
(Objection to Discovery Order at ECF 344). Rather than repeat those arguments here, OpenAI
hereby incorporates them and asks that the Order as to those requests be similarly set aside for
the same reasons. See ECF 363 at 16–17.


                                                  8
     Case 1:23-cv-11195-SHS-OTW             Document 373         Filed 12/23/24       Page 13 of 25




        D.      The Magistrate Judge relied on a separate discovery order considering
                unrelated issues in denying OpenAI’s market-harm requests.

        Both December Orders stated only that OpenAI’s requests were denied “for the reasons

stated in ECF 344,” which was a prior order issued on November 22, 2024 (the “344 Order”),

without any further explanation or analysis. In the 344 Order, the Magistrate Judge denied a

separate OpenAI request to compel production of documents based on the “public benefits”

prong of the fair use defense. The 344 Order addressed the relevance of three issues also critical

to the fair use analysis: (1) the Times’s use of third-party artificial intelligence tools, (2) the

Times’s use and creation of its own artificial intelligence tools, and (3) the Times’s out-of-court

statements about artificial intelligence. ECF 344 at 1. The 344 Order did not directly address the

types of requests that are at issue in this Objection—the Traffic Requests, Revenue Requests, and

Licensing Requests. The 344 Order rested its analysis almost entirely on an incorrect

understanding of how the fair use test assesses “public benefits” flowing from any alleged

copying of the asserted works. See id. at 4–5. Even if that analysis were correct (it is not), 9 the

“public benefits” assessment is simply not relevant to the requests at issue here. 10

        Because Supreme Court and Second Circuit cases are uniform in holding that the

requested materials are relevant—and indeed, critical—to any fair use defense, OpenAI files this

Objection.




9
 As noted above, OpenAI has separately filed an Objection to the 344 Order. See ECF Nos. 362,
363.
10
  Indeed, to the extent the 344 Order has any bearing on the requests at issue here, it underscores
that the Times’s refusal to produce was improper. The November Order cites to Oracle and the
Supreme Court’s acknowledgement that “the source of the loss” is critical when assessing
market harm. See 344 Order at 4 (citing Oracle, 593 U.S. at 35). Yet the December Orders
prevent OpenAI from obtaining any party discovery on that issue.


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     Case 1:23-cv-11195-SHS-OTW           Document 373         Filed 12/23/24      Page 14 of 25




V.       STANDARD OF REVIEW

         Under Federal Rule of Civil Procedure 72(a), a district court may “modify or set aside”

any part of a magistrate judge’s non-dispositive order “that is clearly erroneous or contrary to

law.” Fed. R. Civ. P. 72(a). A magistrate judge’s order is “contrary to law” if it “fails to apply or

misapplies relevant statutes, case law, or rules of procedure.” Coventry Cap. U.S. LLC v. EEA

Life Settlements, Inc., 333 F.R.D. 60, 64 (S.D.N.Y. 2019) (quoting R.F.M.A.S., Inc. v. So, 748 F.

Supp. 2d 244, 248 (S.D.N.Y. 2010)). A magistrate judge’s order is “clearly erroneous” “if the

reviewing court is left with the definite and firm conviction that a mistake has been committed.”

Id. (quoting R.F.M.A.S., Inc., 748 F. Supp. 2d at 248).

VI.      ARGUMENT

         OpenAI is entitled to “present evidence” that the Times has not suffered any “market

harm to support [its] defense of fair use.” Hachette Book Grp., Inc. v. Internet Archive, 115 F.4th

163, 191 (2d Cir. 2024). And OpenAI is entitled under Rule 26 to “obtain discovery regarding

any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case.” Fed. R. Civ. P. 26(b)(1) (emphasis added). “[R]elevance, for purposes of

discovery, is an extremely broad concept.” Condit v. Dunne, 225 F.R.D. 100, 105 (S.D.N.Y.

2004). Moreover, information sought “need not be admissible in evidence to be discoverable.”

Fed. R. Civ. P. 26(b)(1).

         The December Orders prevent OpenAI from obtaining discovery that is highly relevant to

its defense. Indeed, the Orders do so despite the Times largely conceding that the discovery in

question is relevant. 11 Supreme Court and Second Circuit cases consistently hold that evidence




11
     See ECF 333 (opposing requested discovery on grounds of burden and duplicativeness).


                                                 10
     Case 1:23-cv-11195-SHS-OTW           Document 373        Filed 12/23/24      Page 15 of 25




pertaining to the existence or absence of market harm and identifying “the source” of any such

harm is not just relevant, but critical to any fair use defense. Oracle, 593 U.S. at 35; Harper &

Row Publishers, Inc. v. Nation Enter., 471 U.S. 539, 567 (1985) (explaining that a defendant is

entitled “to show that [the alleged harm] would have occurred had there been no taking of

copyrighted expression”). And common sense dictates that, if the Times’s alleged losses are

attributable to competitive pressures unrelated to OpenAI—social media, pandemic-related

disruptions, cable news, the proliferation of podcasts—then they cannot represent “market harm”

attributable to OpenAI. Even setting aside OpenAI’s fair use defense, such evidence is also

critical to challenging the Times’s alleged damages. Lastly, the December Orders also prevent

OpenAI from obtaining discovery regarding the alleged licensing market for LLM training, even

though the nature of that supposed market—and whether it represents a “traditional, reasonable,

or likely to be developed” market—is essential to the fair use analysis. Texaco, 60 F.3d at 930–

31.

         The Orders denying the requested discovery are inconsistent with the scope of discovery

under Rule 26 and fail to apply the appropriate case law. Pursuant to Rule 72(a), they must be set

aside.

         A.     The Revenue and Traffic Requests seek documents critical to OpenAI’s fair
                use defense.

         The Revenue and Traffic Requests seek evidence that is central to the fourth factor of

OpenAI’s fair use defense. Indeed, the Times largely abandoned any relevance objection to these

requests, asserting instead that the requests were unduly burdensome and cumulative. 12 The



12
   The Times broadly conceded relevance before the Magistrate Judge but argued that the
requested discovery was unduly burdensome and cumulative. See ECF 333. But the Times failed
to offer any specific articulation of this alleged burden, failed to propose search terms for the
relevant terms, and refused to discuss ways to alleviate this alleged burden while still preserving


                                                 11
     Case 1:23-cv-11195-SHS-OTW           Document 373        Filed 12/23/24     Page 16 of 25




Orders denying this discovery, by contrast, did not even address the bases of the Times’s

objections, relying instead on a categorical rejection of relevance.

         The Revenue and Traffic Requests are all narrowly tailored to the issue of causation. For

example, RFPs 142 through 144 target alleged decreases in traffic to the Times’s platforms and,

critically, “the reasons for such decreases.” 13 Similarly, as to the Times’s revenue, RFPs 141 and

146 through 148 target alleged decreases in revenue and “the reasons for such decreases.” 14

         Despite conceding relevance as to these requests, the Times refused to produce

documents related to the causes of its alleged market harm. 15 But Rule 26 permits discovery into

“any nonprivileged matter that is relevant” to OpenAI’s fair use defense, and the case law

recounted above makes plain that causation of alleged market harm is critical. Indeed, the

Supreme Court in Oracle went into great detail analyzing the plaintiff’s alleged losses and

whether, among the various factors, Google’s alleged infringement was, in fact, “the source of

the loss.” Oracle, 593 U.S. at 35. The Court noted that “Sun was beset by business challenges in

developing a mobile phone product,” and that Sun’s CEO had testified its losses were not

“attributable to Google’s development of Android.” Id. at 36. Such evidence—which was pivotal

to the Supreme Court’s conclusion that the “fourth factor . . . weighs in favor of fair use”—is



OpenAI’s right to obtain relevant materials. See id. A party cannot evade its discovery
obligations by offering “merely speculative” concerns regarding burden. See Zhulinska v.
Niyazov Law Grp., P.C., Case No. 21-CV-1348 (CBA), 2021 WL 5281115, at *3 (E.D.N.Y Nov.
12, 2021).
13
     See ECF 310-2 at 32–33.
14
     See ECF 310-2 at 31, 34–36.
15
  The Times’s letter brief on this issue also argued that the Traffic and Revenue requests were
duplicative of the Times’s other document productions. See ECF 333. But none of the cited
productions relates to the causes of any revenue loss. See id., 333-1 at 2. And as to traffic
decreases, the Times has consistently refused to produce the full scope of causation-related
documents.


                                                 12
  Case 1:23-cv-11195-SHS-OTW              Document 373        Filed 12/23/24       Page 17 of 25




precisely the evidence the Times is refusing to produce. If the Times’s alleged losses derive from

factors having nothing to do with OpenAI, then OpenAI is entitled to know. See also Harper &

Row, 471 U.S. at 567 (holding that a copyright defendant is entitled “to show that [alleged]

damage would have occurred had there been no taking of copyrighted expression”); Hachette,

115 F.4th at 191 (“[T]he defendant may present evidence of a lack of market harm to support

their defense of fair use.”).

        The refusal is particularly damaging because the Times has exclusive possession of the

granular financial and revenue analysis that would be most probative of this issue. Nothing can

substitute for the Times’s own data and analysis regarding the causes of any financial losses it

claims to have suffered since OpenAI launched ChatGPT in late 2022. And, indeed, the Second

Circuit has rejected attempts to disprove market harm without such direct evidence. For example,

in Hachette, the defendant had sought market-harm data directly from the plaintiff during district

court proceedings. When the plaintiff refused, the defendant filed a pre-motion letter seeking to

compel production of “commercial performance data.” See Hachette Book Grp., Inc. v. Internet

Archive, Case No. 1:20-CV-04160-JGK (S.D.N.Y. 2021), ECF 47 (“IA Letter Brief”). The

Magistrate Judge declined to grant the request, id. (ECF 60), and the defendant was ultimately

forced to rely on expert reports based on third-party data, Hachette, 115 F.4th at 191. The

Second Circuit rejected these analyses, including by identifying “infirmities” in the use of third-

party data for such a critical assessment, and the Court suggested that the defendant should have

presented evidence more directly linked to the plaintiff’s alleged harm. Id. at 192. But it is

precisely such evidence that the defendant had sought—and been denied—in discovery in that

case. IA Letter Brief at 1–3. OpenAI should not be forced into the same untenable position.




                                                 13
  Case 1:23-cv-11195-SHS-OTW                Document 373          Filed 12/23/24   Page 18 of 25




Failure to set aside the December Orders will preclude OpenAI from gathering the evidence that

Hachette demonstrates is critical, and it will therefore severely prejudice OpenAI’s defense.

        Even setting aside the scope of the fair use defense, causation evidence is equally

relevant to an assessment of damages. In calculating actual damages, “the primary measure of

recovery is the extent to which the market value of the copyrighted work at the time of the

infringement has been injured or destroyed by the infringement.” Fitzgerald Publ’g Co. v. Baylor

Publ’g Co., 807 F.2d 1110, 1118 (2d Cir. 1986) (emphasis added). As noted above, the Times

alleges that it has sustained harm in the form of lost revenues for licensing, traffic and

advertising, and subscriptions. FAC ¶¶ 156–57. Documents confirming or disproving the

Times’s allegations go directly to the assessment of the Times’s actual damages. See Stevens

Linen Assocs., Inc. v. Mastercraft Corp., 656 F.2d 11, 15 (2d Cir. 1981) (holding that the

measure of copyright damages was the lost profits had there been no infringement). And because

“[t]he award of actual damages may not . . . be based upon ‘undue speculation,’” Baker v. Urb.

Outfitters, Inc., 254 F. Supp. 2d 346, 356 (S.D.N.Y. 2003) (quoting On Davis v. The Gap, Inc.,

246 F.3d 152, 166 (2d Cir. 2001)), not only is information regarding the Times’s alleged harm

relevant to its damages theories, it is central to its ability to recover.

        Neither the December Orders nor the underlying 344 Order distinguishes or otherwise

addresses OpenAI’s arguments. As noted above, the December Orders simply cite to the 344

Order, but they offer no independent analysis tailored to the requests at issue here. And the 344

Order addressed Magistrate Judge Wang’s view of the scope of the “public benefit” analysis, not

the causes of the Times’s claimed harm. See 344 Order at 4 (assessing scope of the “public

benefits” analysis). The 344 Order’s analysis of the “public benefits” prong simply has no

bearing on the issues here. See FRCP 72(a) (“The district judge in the case must . . . set aside any




                                                   14
  Case 1:23-cv-11195-SHS-OTW              Document 373         Filed 12/23/24      Page 19 of 25




part of the order that is clearly erroneous or is contrary to law.”); SEC v. Citigroup Global

Markets, Inc., 752 F.3d 285, 297 (2d Cir. 2014) (a lower court's “failure to make the proper

inquiry constitutes legal error”). Moreover, to the extent there is any analytical overlap with the

issues in this Objection, the 344 Order supports OpenAI’s request for production. In the midst of

its public benefits analysis, the 344 Order explains that discovery relating to a copyright owner’s

loss is in fact discoverable, and it quotes Oracle’s holding that “the source of a loss” is a relevant

concern. 344 Order at 4.

       Because the December Orders are both contrary to law and clearly erroneous as to the

Revenue and Traffic Requests, they must be set aside.

       B.      The Licensing Requests seek documents critical to OpenAI’s fair use defense.

       Evidence related to licensing is relevant in this matter for at least two distinct but related

reasons. First, the Times alleges that OpenAI’s products have undermined the Times’s

preexisting licensing revenues. FAC ¶¶ 5, 157. Second, the Times suggests that there exists a

potential licensing market for use of copyrighted works for LLM training, and that this market

was available for a third party wishing to use the Asserted Works for that purpose. Id. ¶ 92.

OpenAI sought discovery related to both allegations. It requested documents and

communications relating to (i) the Times’s efforts to license the asserted works (RFPs 18, 33);

(ii) the market for licensing or using the Times’s works for AI training, including documents

showing or refuting whether such a market exists (RFP 160); and (iii) whether the Times’s works

have ever been used for the purpose of analyzing language patterns (RFP 161).

               1.      Preexisting Licensing Revenue

       With regard to the Times’s preexisting licensing revenue, the requested documents are

relevant for the same reasons that the Traffic and Revenue Requests are relevant: OpenAI must

be permitted to challenge the Times’s allegations that OpenAI’s products—as opposed to some


                                                 15
     Case 1:23-cv-11195-SHS-OTW           Document 373        Filed 12/23/24      Page 20 of 25




other cause—have harmed the Times’s ability to license its works for reproduction, derivative

uses, and distribution, among other things. Bill Graham, 448 F.3d at 614 (first inquiry under the

fourth fair use factor is whether a challenged use “impact[s] [the Times’s] primary market for the

sale of [its products]”). While the Times has agreed to produce the licenses themselves, it has

refused to produce the associated communications that would put those licenses in context. And

it has refused to do so despite simultaneously demanding that OpenAI produce communications

related to OpenAI’s licenses. See ECF 333, at 3 (Times Letter Brief). OpenAI is producing such

licensing communications, and the Times should be required to do the same.

        Communications about the Times’s licenses, including negotiation documents

themselves, will include pricing and other financial materials that will illuminate the extent of

any loss in revenue, and they will also provide context regarding whether OpenAI’s products

have any connection to those alleged losses. For example, publicly available information

indicates that the Times licenses its content in a variety of markets, including for brand

marketing and for journalistic purposes (among others). 16 The relevant markets for these distinct

types of licensing are different, as is any theory by which OpenAI’s services could conceivably

undermine the Times’s offerings. OpenAI is entitled to discovery as to each of these distinct

licensing markets. Production of the licenses alone—which is all the Times has agreed to do—

fails to address the underlying details that drive the market harm analysis.

               2.      “Potential” Licensing Revenue for LLM Training

        OpenAI is also entitled to discovery regarding the existence (or lack thereof) of a

potential market for licensing the Times’s works for LLM training, as the viability and



16
   Compare, e.g., https://nytlicensing.com/content-brands (marketing-related licensing), and
https://nytlicensing.com/content-media-organizations (media-related licensing).


                                                 16
  Case 1:23-cv-11195-SHS-OTW              Document 373         Filed 12/23/24      Page 21 of 25




availability of such a market are very much in dispute. The Second Circuit has repeatedly warned

that the mere possibility that the defendant could have paid a licensing fee is not a sufficient

basis to find market harm. See, e.g., Texaco, 60 F.3d at 930–31. Instead, “courts have recognized

limits on the concept of ‘potential licensing revenues’ by considering only traditional,

reasonable, or likely to be developed markets . . . .” Id. at 929–30. The absence of such a “ready

market or means” to license a work weighs in favor of fair use. Id. And the Second Circuit has

separately cautioned that, in conducting that analysis, courts must be wary of attempts by

copyright owners to engineer the appearance of a workable market in order to “preempt” others

from making what would otherwise be fair uses of copyrighted works. Castle Rock Ent. v. Carol

Publ’g. Grp. Inc., 150 F.3d 132, 146 n.11 (2d Cir. 1998).

         OpenAI is therefore entitled to discovery regarding whether the Times’s licensing efforts

related to LLM training reflect a “traditional” or “reasonable” market, or whether such efforts

reflect instead an attempt to “preempt” the fair use of its works. Id. The Times concedes the

relevance of specific licensing efforts, as it has agreed to produce limited communications

regarding those efforts. See ECF 333 at 2. But it has refused contextual discovery into whether

those specific efforts legitimately reflect the existence of a “traditional” or “reasonable” licensing

market, or are instead simply the result of a litigation strategy to create the appearance of such a

market to rebut OpenAI’s fair use defense. Indeed, documents produced thus far strongly suggest

it is the latter.




                                                 17
Case 1:23-cv-11195-SHS-OTW   Document 373   Filed 12/23/24   Page 22 of 25
Case 1:23-cv-11195-SHS-OTW   Document 373   Filed 12/23/24   Page 23 of 25



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                                 19
 Case 1:23-cv-11195-SHS-OTW   Document 373     Filed 12/23/24      Page 24 of 25




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                                   20
 Case 1:23-cv-11195-SHS-OTW   Document 373     Filed 12/23/24    Page 25 of 25




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                                   21
